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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

KIMBERLY KENNEY                                                           PLAINTIFF

VS.                                    4:16CV00688 JM

NUDRAT RAFIQ KHATRI and
UAMS MEDICAL CENTER                                                       DEFENDANTS



                                             JUDGMENT

      Pursuant to the Order entered on this date, it is Considered, Ordered and Adjudged that

this case be, and it is hereby, dismissed.

      IT IS SO ORDERED this 6th day of October, 2016.




                                                    James M. Moody Jr.
                                                    United States District Court
